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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR199
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
DUANE CHARLES ANDERSON,                            )
                                                   )
                      Defendant.                   )


       This matter is before the court on defendant Duane Charles Anderson’s request for
additional time to file pretrial motions made at the time of his arraignment on May 26, 2005.
The request is granted, and Anderson shall have to July 7, 2005, in which to file any pretrial
motions. The ends of justice have been served by granting such request and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., from June 13, 2005 through July 7, 2005, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).
       IT IS SO ORDERED.
       DATED this 26th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
